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   IT IS ORDERED as set forth below:



   Date: July 9, 2019
                                                   _________________________________

                                                              Sage M. Sigler
                                                       U.S. Bankruptcy Court Judge

 ________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                      :
                                            :          CASE NO. 19-53270-SMS
JASON WARD FREEMAN,                         :
                                            :          CHAPTER 7
                    Debtor.                 :
_____________________________________ :
                                            :
Martha A. Miller, Trustee for the Chapter 7 :
Estate of Jason Ward Freeman,               :
                                            :
                    Movant,                 :
                                            :
v.                                          :
                                            :
BRENDA FREEMAN,                             :
                                            :
                    Respondent.             :
_____________________________________ :

                   :ORDER GRANTING MOTION FOR EXAMINATION
                        PURSUANT TO FED. R. BANK. P. 2004




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        The motion of Martha Miller, Chapter 7 trustee (“Movant”) for an order authorizing the

examination of Brenda Freeman pursuant to Rule 2004 (Dkt. No. 39) having been read and

considered, it is,

        ORDERED that the motion is GRANTED to permit that examination in accordance with

Fed.R.Bankr.P. 2004(b) at a mutually agreed time and place. If attendance and production of

documents cannot be obtained voluntarily, Movant may compel attendance and production of

documents as provided in Fed.R.Bankr.P. 2004(c).

        IT IS FURTHER ORDERED that Movant Trustee is hereby authorized to pay a witness

fee and mileage in connection with the service of any subpoena, a reasonable court reporting fee

and any other actual and necessary expenses incurred in connection with the examination.

                                    END OF DOCUMENT

Prepared and Presented by:

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                                    DISTRIBUTION LIST

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